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                                  No. 08-11098

               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


DIANE G. REED,
Real Party in Interest

      Plaintiff/Appellee

v.

CITY OF ARLINGTON

      DefendantAppellant


      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF TEXAS (FORT WORTH
                         DIVISION)


          MOTION OF THE CLLA FOR LEAVE TO PARTICIPATE
                       IN ORAL AGUMENT
           AS AMICUS CURIAE IN SUPPORT OF APPELLANT
                         DIANE G. REED



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          MOTION OF THE CLLA FOR LEAVE TO PARTICIPATE
                       IN ORAL ARGUMENT
     AS AMICUS CURIAE IN SUPPORT OF APPELLANT DIANE G. REED

TO THE HONORABLE UNITED STATES COURT OF APPEALS:

       COMES NOW the Commercial Law League of America, Amicus Curiae, and

files this Motion for Leave to Participate in Oral Argument in Support of Appellant

Diane G. Reed and would show as follows:

       Pursuant to Fed.R.App. P. 29 and Fifth Circuit Rule 29, the Commercial Law

League of America respectfully moves for leave to participate in oral argument
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before the en banc court.    Appellee Diane G. Reed has agreed to cede Ten minutes

of her time to allow the amicus curiae to participate in oral argument to express the

concerns of the party which would ultimately be most impacted by the Reed decision

as it now stands.

      The Commercial Law League of America (CLLA), founded in 1895, is the

nation's oldest organization of attorneys and other experts in credit and finance

actively engaged in the field of commercial law, bankruptcy and reorganization.

The League’s membership, which numbers nearly 2,000 professionals, includes

attorneys from large and small firms and bankruptcy judges representing virtually

every state, and consists of representatives of divergent interests in bankruptcy

cases. The CLLA has been associated with the representation of creditor interests,

while at the same time seeking fair, equitable and efficient administration of

bankruptcy cases for all parties in interest.

      WHEREFORE, PREMISES CONSIDERED, the Commercial Law League of

America prays that the Court grant it leave to participate in oral argument and for

such other relief at law and in equity to which it may be entitled.




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                              Respectfully submitted,

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                                   /s/ Stephen W. Sather
                              By:________________________________
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                              ATTORNEY FOR AMICUS CURIAE

                     CERTIFICATE OF CONFERENCE

      By my signature below, I hereby certify that I conferred with Todd
Hoodenpyle, attorney for Diane G. Reed. Mr. Hoodenpyle agreed to cede up to ten
minutes of his time for oral argument.

                                                      /s/Stephen W. Sather




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                          CERTIFICATE OF SERVICE

       By my signature above, I hereby certify that a true and correct copy of the
foregoing was sent by first class mail postage prepaid this 30th day of April, 2011, to
the following:

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